 

` C`asé: 1 09- -cr- 01058 Documem #: 6 I`=iled: 03/17/10 Page 1 of 1 PagelD #: 27

U.S. DISTRIC'I` COURT FOR THE NORTHERN DIS'I`RICT OF lLLINOIS
ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Cour't an attorney must either be a member in good
standing of this Ceurt’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

 

ln the Matter of Case Number:

1053

<;v.,
{?°' Yl"’ {§APUJA/S OL) 6 jury

AN APPEARANCE IS I-[E`,REBY FILED BY TI-IE UNDERSIGNED AS ATTORNEY FOR:

Fl
RW\L, kv-»\L./ 3%“[!:©[)

MAR 1 7 ZUIU

MAGISTRA?E JUDG
EJEF
uNlTED sum nigrq;§§¥e§g]_'~'='

NAME (Type or print)
THOMAS C. BRANDSTRADER

 

SIGNATUB§ (Use electronic sigwppear_gnoe farm is_§led electronically) _
~ S/ '\' 'E_ -\_' ‘

 

FIRM
Attorney at Law

 

STREET ADDRESS
53 W. Jackson Blvd S],l}te 615

 

clIY!sTATE/zlp ' ,'
Chl_cago 11. 60_604 5

 

ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) TELEPHONE NUMBER

 

 

 

 

_61-81127 -3123325297 C"”"'J
_ AR§XQH ACHNG 4§__&519 CQQNSE_L m TH_IS 9:\§9? _ __ __ _‘<"__E§I __ N_O[|___ _

ARE YOUACTING AS LOCAL COUNSEL 1N THIS CASF.? vEs- No|:|

ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? YES. NO|:

 

IF THIS CASE REACHES TR.IAL, WILL YOU ACT AS THE TRIAL ATTORNEY? YES- NO E

 

 

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THA'I` DESCRIBES YOUR STATUS.

RETAINED COUNSELE APPOINTED COUNSEL

 

 

 

